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                         EXHIBIT A
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                                                     S
                                         SU '""--O "'                                                   I             (SOLO A AUSODELJICORTE)
                                  (CITACION JUDlCIAL)
 NOTICE TO DEFENDANT:
 (AVISO AL DEMANDADO)                                                                                                                  ~Ff"~t~~
                                                                                                                                          T3
 EXXON MOBIL CORPORATION, a New Jersey corporation; and                                                                     co' brr~^ogetp
 DOES I through 50, inclusive,                                                                                                       .~
                                                                                                                                      1_.~l t 7
 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                    1 ~; 4 r,r; ~,!~C(P(, k;W+,!t1VP Q{f';r,.A(/GEerk
 CHALENA SIMPSON, an individual,                                                                        I         By; MF~t7ort tiimei: l=)ep*


   NOTICEI You have been sued. The court may decide against you wittrout your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your wriften response must be in proper legal form if you want the court to hear your
  c.ase. There may be a court form that you can use for your response. You can find lhese court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the fi!ing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on fime, you may lose the case by default, and your wages, money, and properiy
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an atlorney
  referral service. If you canriot afford an attorney, you may be eligible for free legat services from a nonprofit legal services prograni. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org ), the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 fAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versibn. Lea la informaci6n a
 continuaci6n.
    Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legates para presentar una respuesta por escrito eri esta
 corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefonica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posibte que hava un formulario aue usted pueda usar oara su respuesta.
 Puede encontrar estos formularios de la corte y mas informacion en et Centro de Ayuda de las Cortes de California (www.sucofle.ca.gov), en la      I
 biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
 que te de un formulario de exencidn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder et caso por incumplimiento y la corie le
 podra quitar su sueldo, dinero y bienes sin mas advertencia.
   Hay otros requisitos legales. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Itamar a un servicio de
 remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuilos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de /as Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
 colegio de abogados locales. AV1S0: Por ley, la corte tiene derecho a rectamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperacion de $10,000 6 mas de va/or recibida mediante un acuerdo o una concesidn de arbilraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la code antes de que la corte pueda desechar el caso.

The name and address of the court is:                                                                       CASE rJUMBER:
                                                                                                            rWmero aer ca
(EI nombre y direcci6n de la corte es):

 Supei-ior Court of California, County of Los Angeles                                                                                             547
 111 N. Hill Street, Los Angeles, CA 90012
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direccl6n y el numero de teldfono del abogado del demandante, o del detnandante que no tiene abogado, es):
 Howard Magee (SBN 185199)/Diversity Law Group, 515 S. Figueroa St. #1250, L CA 90071,213-488-6555

DATE:                              SHERRI R. CtiRTEEv                          Clerk, by                                                                      , Deputy
(Fech~EC          1 1 2017                                                     (Secretario)                                        g,~_                        (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatidn use el formulario Proof of Service of Summons, (POS-010)).
                                     NOTICE TO THE PERSON SERVED: You are served
 ISEALI
                                     1. C] as an individual defendant.
                                     2.       as the person sued under the fictitious name of (specify):



                                     3. 0 on behalf of (specify):           ExxON MOBILE CORPORATION, a New Jersey Corporation

                                         under:           CCP 416.10 (corporation)                                   CCP 416.60 (minor)
                                                  ~ CCP 416.20 (defunct corporation)                                 CCP 416.70 (conservatee)
                                                  [~ CCP 416.40 (association or partnership)                         CCP 416.90 (authorized person)

                                                  = other (specify):
                                     4 ~ by personal delivery on (date):

Form Adopled ror Mandalory Use                                                                                                    Code ol Gvil Procedure §§ 412.20. 465
  Judicial Counbl o1 Calirornia
                                                                       SUMMONS                                                                     w vrci. courri nf o. ta. g o v
  SUM-100 IRev. July 1, 20091




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 1     Howard L. Magee (State Bai- No. 185199)
       Kristen Agnew (State Bar No. 247656)                               QO`;
                                                                           . ~ ~~
 2
       DIVERSITY LAW GROUP, A Professional Corporation                          Coanty Oi Lo~ Augde.=.

 3     515 South Figueroa Street, Suite 1250
       Los Angeles, California 90071
 4     (213)488-6555
                                                                    Sherri R. l;ar!er, ~~~G~tn~e U~ICcriCle r.
       (213) 488-6554 facsimile
 5                                                                      By; ltilarfon Gomez, Doputy

 6     Attoniey for Plaintiff
       CHALENA SIMPSON
 7

 8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                                   FOR THE COUNTY OF LOS ANGELES
]0
       CHALENA SIMPSON, an individual,              ) Case No.

                     Plaintiff,                       COMPLAINT FOR DAMAGES
12
             vs.                                          1.   PREGNANCY DISCRIMINATION
13                                                             IN VIOLATION OF FEHA;
       EXXON MOBIL CORPORATION, a New                     2.   DISABILITY DISCRIMINATION
14     Jersey corporation; and DOES I through 50,              IN VIOLATION OF FEHA;
15     inclusive,                                         3.   FAILURE TO ENGAGE IN THE
                                                               INTERACTIVE PROCESS IN
16                   Defendants.                               GOOD FAITH IN VIOLATION OF
17                                                             FEHA;
                                                          4.   FAILURE TO MAKE
18                                                             REASONABLE
                                                               ACCOMMODATIONS IN
19                                                             VIOLATION OF FEHA; ANll
20                                                        5.   RETALIATION IN VIOLATION
                                                               OF FEHA -
21
                                                           (DEMAND EXCEEDS $25,000.00)
22

23                                                    JURY TR1AL llEMANDED

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 1           Plaintiff Chalena Simpson (hereinafter referred to as "Plaintift" or "Ms. Simpson'"),

 2   hereby submits her Complaint for Damages against Defendant Exxon Mobil Corporation

 3   ("Exxon Mobil°') and Does 1 through 50 (collectively, "Defendants") as follows:

 4                                   JURISDICTION AND VENUE
 5           l.     This Court has jurisdiction over the violations of the Fair Employment and

 6   Housing Act (the "FEHA"), as Plaintiff has met all the jurisdictional requirements for proceedi

 7   with lier claims under the FEHA, including without linlitation, California Governnient Code

 8   sections 12960 and 12965, by timely filing an administrative complaint against Exxon Mobil

 9   with the California llepartment of Fair Employment and Housing (the "DFEH") on or about Ma)

10   12, 2016. On December 14, 2016, Plaintiff received her right-to-sue letter fi•om the DFEI-I

11   against Exxon Mobil. True and correct copies of the DFEH conlplaint and right-to-sue letter are

12   collectively attached hereto as Exhibit "A."

13          2.      Venue is proper because the alleged wrongs occurred in Los Angeles County.

14                                               PARTIES

15          3.      At all times mentioned herein, Plaintiff was an individual residing in the State of

16 I California.

17          4.      Exxon Mobil is an international oil and gas company with operations throughout

18   the United States, including in Los Angeles County, California.

19          5.      At all times mentioned hereili, Exxon Mobil was and is a cor-poration who

20 ' employs 100 or more employees. As such, Exxon Mobil is subject to the FEHA pursuant to

21   California Government Code section 12926(d).

22                                         DOE DEFENDANTS

23          6.      Plaintiff does not know the true names or capacities, whether individual, partner

24   or colporate, of the defendants sued herein as Does 1 through 50; inclusive, and for that reason,

25   said defendants are sued under such fictitious nalnes, and Plaintiff prays for leave to amend this

26   complaint when the true names and capacities are known. Plaintiff is informed and believes and,

27   based thereon alleges, that each of said fictitious defendants was responsible in some way for the

28   matters alleged herein and pl-oximately caused Plaintiff to be subject to the illegal employment



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 1   practices, wrongs and injuries complained of llerein.

 2                           AGENCY STATUS OF EACH DEFENDANT
 3          7.      At all times herein mentioned, eacll of said Defendants participated in the doing

 4   of the acts hereinafter alleged to have been done by the named Defendants; and furthermore, the

 5   Defendants, and each of them, were the agents, servants and employees of each of the other

 6   Defendants, as well as the agents of all Defendants, and at all times herein inentioned, were

 7   acting witllin the course and scope of said agency and employment.

 8          8.      Plaintiff is infornied and believes and, based thereon alleges, that at all times

 9   material hereto, each of the Defendants named herein was the agent, employee, alter ego and/or

10   joint venturer of, or working in concel-t with each of the other co-Defendants and was acting

11   within the course and scope of such agency, employment, joint venture, or concerted activity.

12   To the extent said acts, conduct, and omissions were perpetrated by certain Defendants, each of

13   the remaining Defendants confirmed and ratified said acts, conduct, and omissions of the acting

14 Defendants.

15          9.     At all times herein mentioned, Defendants, and each of them, were members of,

16   and engaged in, a joint venture, partnership and common enterprisc, and acting within the course

17   and scope of, and in pursuance of, said joint venture, partnership and common enterprise.

18          10.     At all times lierein mentioned, the acts and omissions of various Defendants, and

19   each of them, concurred and contributed to the various acts and omissions of each and all of the

20   other Defendants in proximately causing the injuries and damages as herein alleged. At all times

21   herein mentioned, Defendants, and each of them, ratified eacli and every act or omission

22   complained of herein. At all times herein mentioned, the Defendants, and each of them, aided

23   and abetted the acts and omissions of each and all of the othel• Defendants in proximately causin€

24   the damages as herein alleged.

25                                     FACTUAL ALLEGATIONS
26          11.     Plaintiff Chalena Sinipson was employed by Exxon Mobil froin on or about

27 I Marcli 28, 2008 to June 5, 2015. Ms. Simpson worked as a Laboratory Technician at the

28   Torrance, California refinery.


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  1           12.    Ms. Simpson was a hardworking and dedicated employee during her seven-year

 2    tenure with Exxon Mobil. However, once Ms. Simpson complained to management about the s

 3    discrimination and liostile work environment she experienced, Exxon Mobil began retaliating

 4    against Ms. Simpson and ultimately wrongfully terininated her employment when she was

 5    approximately four months pregnant.

 6            13.    On or about February 23, 2015, Ms. Simpson alerted nianagement that her

 7    imnlediate supervisor, Hiram Acosta, was creating a hostile work enviroiiment. Ms. Sirnpson

 8    coinplained that Mr. Acosta unfairly singled her out for discipline and treated hei- less favorably

 9    than other employees because of her sex. Exxon Mobil did nothing to rectify Ms. Simpson's

10    complaints, such as disciplinary action against Mr. Acosta, or at the very least, transferring Ms.

11    Simpson out of the hostile and toxic work environment.

12           14.     In Spring 2015, Ms. Simpson learned that she was pregnant. Ms. Simpson advisec

13    her physician of the nature of her work, including that she handled cliemicals that are known to

14    be hazardous to pregnant women. On May 12, 2015, Ms. Simpson's physician provided her with

15    a doctor's note requesting that Exxon Mobil excuse her from "normal work related duties,

16    including work using cliemicals that is not protected by a hood" for the period of May 12, 2015

17    to June 15, 2015. Ms. Simpson made multiple attempts to present the doctor's iiote to Exxon

18    Mobil's Medical Department, including on May 13 and May 15, but was advised that the

19    inedical persomlel who liandled requests for light duty were out of the office. Consequently,

20    against her physiciaii's recommendation, Ms. Siinpson was left with no choice but to continue

21    handling chemicals without the protection of a hood.

22           15.     On May 18, 2015, Ms. Simpson spoke to a registered nurse witliin the Medical

23    Department. Ms. Simpson disclosed her pregnancy and inquired about the safety of lier work

24    environment in light of lier condition and the doctor's prescribed work restrictions. Ms. Simpson

25    further requested that Exxon Mobil provide lier with a light duty assignment and again attempted

26 I to provide the May 12 doctor's note. "The nurse refused to accept the note. The nurse informed

27 ~ Ms. Sinipson that tlie Medical Department had to conduct its own reproductive assessment of the

28 I laboratory. Ms. Simpson asked why an assessinent was necessary, given that sthe had already



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 1    presented a note from 11er physician outlining her work restrictions. The nurse was um~elenting

 2    and insisted that an assessment was necessary to determine what accommodation, if any, would

 3 I I be provided. The nurse directed Ms. Simpson to return to her regular assignment in the

 4    laboratoi-y against the directive of her physician.

 5           16.     Although Ms. Simpson had shared the news of her pregnancy in confidence with
 6 I I Exxon Mobil's nurse, she later learned that the nurse apprised Mr. Acosta and/or Daisy Mah,

 7   Laboratory Manager, of her pregnancy.

 8           17.     Despite Ms. Simpson's work restrictions, Exxon Mobil failed to modify her job

 9   duties in accordance with her doctor's directive that she avoid hazardous chelnicals. Exxon

10   Mobil further failed to provide Ms. Simpson the option of transferring to an alternate position

11   within the Company as an offer of a reasonable accommodation. Rather than try to work with

12   Ms. Simpson, who was ready and willing to continue working for the duration of her pregnancy, I

13   Exxon Mobil completely ignored her attempts to interact about possible workplace                   i

14   accommodations. Indeed, Ms. Simpson was never told the results of the purported reproductive '

15   assessment.

16           18.     In an act of retaliation and discrimination, Exxon Mobil unlawfully terminated

17   Ms. Simpson's employment. On June 4, 2015, Ms. Simpson was presented with a letter

18   terminating her employment for purported unsatisfactory perforniance. Ms. Simpson is informed

19   alid believes that the individuals who participated in the termination decision, including Mr.

20   Acosta and Ms. Mah, were aware of her pregnancy and prior complaints and acted with
21   discriminator}, intent.

22           19.     As an actual and proximate result of tlle illegal employment actions of Exxon

23   Mobil, Ms. Simpson has suffered and continues to suffer pain, humiliation, severe elnotional

24   distress, trauma, and sleeplessness. Also, as an actual and proximate result of the Company's

25   illegal employment actions, Ms. Simpson has suffered lost wages, including without limitation,

26   unpaid overtime, loss of salary, incentivized compensation, and bonuses. Ms. Simpson also has
27   suffered a loss in earning capacity. Thus, Ms. Simpson has suffered economic and non-economic

28 I losses in an amount greater than this Court's jurisdictional minimum of $25,000. Ms. Sinipson



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 1     seeks lost wages and loss in earning capacity, as well as c.ompensatory damages for pain and

 2     suffering, inconvenience, and mental anguish. Ms. Simpson also seeks punitive damages,

 3     interest, attorneys' fees, and costs, as perniitted by law

 4                                        FIRST CAUSE OF ACTION
 5                    PREGNANCY llISCRIMINATION IN VIOLATION OF THE FEHA

 6                        (AGAINST EXXON MOBIL AND DOES 1-50 BY PLAINTIFF)

 7             20.    Plaintiff re-alleges and incorporates by reference paragraplis I through 19 as

 8 ~ I though fully set forth herein.

 9            21.     Under the FEHA, Government Code § 12940 et seg., it is an unlawful

10     employtnent practice for an employer, because of the sex and/or pregnancy of a person, to refuse '

11     to hire or einploy the person, to bar or discharge the person from employment, or to discriminate

12     against tlie person in compensation or in terms, conditions, or privileges of employment.

13            22.     As a direct, legal, and proximate result of Plaintiff's pregnancy, Defendants

14     discriminated against Plaintiff in the compensation, terms, conditions, and privileges of

15' employment by terminating Plaintiff due to her pregnancy in violation of California Government

16     Code section 12940.

17 ,          23.     As a proximate result of Defendants' discrimination against Plaintiff, she has

18     suffered and continues to suffer compensatory damages, including without limitation, lost wages,

19     loss of future earnings and earniilg capacity, loss of bonuses and deferred compensation,

20     enlotional distress, niental anguish, embarrassment, humiliation, loss of future advancement, and

21     damage to her reputation in the business community, in the amount of at least $25,000.00,

22     according to proof at the tinie of trial, whicti is in excess of the jurisdictional minimum for this

23     lawsuit to qualify as an uiilimited civil action. Plaintiff claims such ainounts as damages,

24     together with prejudgment interest accruing from the date of the filing of this action pursuant to

25     California Civil Code sections 3281 and/or 3288, and/or any other provision of law providing foi

26     prejudgment interest.

27            24.     As a proximate result of Defendants' discrimination against Plaintiff, she has

28 I forced to hire attorneys to pi-osecute the claims alleged herein, and has incurred and is expected



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                                                    COMPLAINT
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 1   to continue to incur attorneys' fees. Pursuant to California Government Code section 12965(b),
 2    Plaintiff requests the award of attorneys' fees against Defendants.

 3             25.     Defendants committed the acts alleged herein maliciously, fraudulently, and

 4   oppressively, callously, in bad faith, with the wrongful intent of injuring Plaintif£ and in

 5   conscious disregard of Plaintiffls rights and safety. As such, I'laintiff is entitled to an award of

 6   punitive damages in an amount according to proof.

 7                                      SECOND CAUSE OF ACTION
 8                   DISABILITY DISCRIMINATION IN VIOLATION OF THE FEHA

 9                    (AGAINST EXXON MOBIL AND DOES 1-50 BY PLAINTIFF)

10       26.           Plaintiff incorporates by reference as if fully set forth herein the allegations

11   contained in paragraphs 1 through 25.

12       27.           California Government Code section 12940(a) prohibits employers from

l3   discriminating against any employee on the basis of disability. Pursuant to California

14   Government Code section 12926.1(b), "disability" includes, without limitation, protection from

15   discrimination due to actual or perceived physical or mental condition that is disabling,

16   potentially disabling, or perceived as disabling or potentially disabling

17       28.           Plaintiff was a qualified individual with a disability. Plaintiff was also regarded as

18   or treated by Defendants as being disabled and/or having a physical condition that made

19   achievement of a major life activity difficult.

20       29.           Plaintiff is infoi•med and believes and based thereon alleges that her disability was

21   a motivating factor in Defendants' decision to terminate her employment in violation of

22 Government Code section 12940(a).

23       30.           As a proximate result of Defendants' discrimination against Plaintiff,.she has

24   suffered and continues to suffer compensatory damages, including without limitation, lost wages

25   loss of future earnings and earning capacity, loss of bonuses and deferred compensation,

26   emotional distress, mental anguish, embarrassment, humiliation, loss of ftlture advancenient, and

27   damage to lier reputation in the business comrnunity, in the amount of at least $25,000.00,

28 I according to proof at the tilne of trial, which is in excess of the jurisdictional minimuni for this


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                                                    COMPLAIn'T
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 1 I I lawsuit to qualify as an unlimited civil action. Plaintiff claims such amounts as damages,

 2     together witll prejudgment interest acei-uing from the date of the filing of this action pursuant to

 3     Califonlia Civil Code sections 3281 and/or 3288, and/or any other provision of law providing foi-

 4 I I prejudgment interest.

 5        31.         As a proximate result of Defendants' discrimination against Plaintiff, she has

 6     forced to hire attorneys to prosecute the claims alleged herein, and has incurred and is expected

 7     to continue to inctu- attorneys' fees. Pursuant to California Government Code section 12965(b),

 8     Plaintiff requests the award of attorneys' fees against Defendants.

 9        32.         Defendants committed the acts alleged herein maliciously, fraudulently, and

10     oppressively, callously, in bad faith, with the wrongful intent of injuring Plaintiff, and in

11     conscious disregard of Plaintiff's rights and safety. As such, Plaintiff is entitled to an award of

12     punitive damages in an amount according to proof.

13                                       THIRD CAUSE OF ACTION

14     FAILURE TO ENGAGE IN INTERACTIVE PROCESS IN VIOLATION OF THE FEH
15                   (AGAINST EXXON MOBIL AND DOES 1-50 BY PLAINTIFF)

16        33.         Plaintiff incorporates by reference as if fully set forth herein the allegations

17 contained in paragraphs 1 through 32.

18        34.         California Governmeiit Code section 12940(n) provides that it is unlawful for an

19     employer to fail to engage in a timely, good faith interactive process with an employee wit11 a

20     known physical disability in order to identify and implement effective reasonable

21     accommodations if any.

22        35.         California Government Code section 12926.1(e) states, "The Legislature affirms

23     the importance of the interactive process between the applicant or employee and the employer in

24     determining a reasonable accommodation, as the i-equirement has been articulated by the Equal

25     Employment Opportunity Commission in its intei-pretive guidance of the Americans with

26     Disabilities Act of 1990."

27 I      36.         Defendants were reqiuired to proactively engage in a good faith z-eview of

28 I Plaintiff's ability to continue to perform the essential ftinctions of her job with or witllout


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                                                    COMPLAINT
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  1     reasonable accommodations.

  2        37.         Defendants failed to engage in a proper good faith interactive process before it
  3    decided to teriniiiate Plaintiff from her job.

  4        38.         As a proximate result of Defendants' failure to engage in the interactive process
  5    with Plaintiff, she has suffered and continues to suffer compensatory damages, including without
  6    liniitation, lost wages, loss of future earnings and earning capacity, loss of bonuses and deferred
  7    coinpensation, emotional distress, mental anguisl ►, embarrassment, humiliation, loss of filture

  8    advancement, and damage to her reputation in the business community, in the amount of at least
  9    $25,000.00, according to proof at the time of trial, which is in excess of the jurisdictional
 10    minimum for this lawsuit to qualify as an unlimited civil action. Plaintiff claims such amounts as''
11     damages, together with prejudgment interest accruing from the date of the filing of this action
12     pursuant to California Civil Code sections 3281 and/or 3288, and/or any other provision of law
13 I providing for prejudgment interest.

14         39.        As a proximate result of Defendants' failure to engage in the interactive process
15     with Plaintiff, she has been forced to hire attomeys to prosecute the claims alleged hereiii, and
16     has incurred and is expected to continue to incur attorneys' fees. Pursuant to California
17     Government Code section 12965(b), Plaintiff requests the award of attorneys' fees against
18 I Defendants.

19        40.         Defendants committed the acts alleged herein maliciously, fraudulently, and
20     oppressively, callously, in bad faith, with the wrongful intent of injuring Plaintiff, and in
21     conscious disregard of Plaintiffls rights and safety. As such, Plaintiff is entitled to an award of
22     punitive damages in an amount according to proof.

23                                      FOURTH CAUSE OF ACTION
24         FAILURE TO ACCOMMODATE DISABILITY IN VIOLATION OF THE FEHA
25                   (AGAINST EXXON MOBIL AND DOES 1-50 BY I'LAINTIFF)
26        41.         Plaintiff incorporates by reference as if fully set forth lierein the allegations
27 I contained in paragraphs I through 40.

28 I      42.         Government Code section 12940(111) provides that it is unlawful for an employer


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                                                    COMPLAINT
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      II to fail to c.onsider a reasonable accomrnodation for the known physical or mental disability of an

  2 I I employee.

  3         43.          Defendants failed to make reasonable accommodations for Plaintiff's disability
  4    terininating her because of her disability rather than detelinining what reasonable

  5    accominodations could be given to Plaintiff to allow her to keep working.
  6        44.           As a proximate result of Defendants' failure to accommodate Plaintiff, she has

  7    suffered and continues to suffer compensatory daniages, including without limitation, lost wages,

  8    Ioss of future ealnings and earning capacity, loss of bonuses and deferred compensation,

  9    eniotional distress, mental anguish, embarrassment, humiliation, loss of future advancement, and

10     damage to her reputation in the business community, in the arnount of at least $25,000.00,

11     according to proof at the time of trial, which is in excess of the jurisdictional minimum for this
12     lawsuit to qualify as an unlimited civil action. Plaintiff claims such amounts as damages,

13     together with prejudgment interest accruing from the date of the filing of this action pursuant to
14     California Civil Code sections 3281 and/or 3288, and/or any other provision of law providing for
15     prejudgment interest.

16         45.           As a proximate result of Defendants' failure to accommodate Plaintiff, she has

17     been forced to hire attorneys to prosecute the claims alleged herein, and has incurred and is

18     expected to continue to incur attorneys' fees. Pursuant to California Government Code section

19     12965(b), Plaintiff requests the award of attorneys' fees against llefendants.

20         46.           Defendants committed the acts alleged herein nialiciously, fraudulently, and

21    oppressively, callously, in bad faith, with the wrongful intent of injuring Plaintiff, and in

22    conscious disregard of PlaintifPs rights and safety. As such, Plaintiff is entitled to an award of

23    punitive dainages in an amount according to proof.

24                                        FIFTH CAUSE OF ACTION
25                                 RETALIATION IN VIOLATION OF THE FEHA
26                      (AGAINST EXXON MOBIL AND DOES 1-50 BY PLAINTIFF)
27         47.          Plaintiff re-alleges and incorporates by reference paragraplis 1 tlu-ough 46 though

28 I I ftllly set fortli herein.


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                                                    COMPLAINT
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 1       48.        California Government Code section 12940(1I) prollibits eniployers from

 2   retaliating against employees who have opposed any practices forbidden under the FEHA.

 3       49.        Defendants are liable under section 12940(h) for retaliating against Plaintiff

 4   because she engaged in a protected activity by complaining internally about the unethical sex

 5   harassinent and discrimination perpetrated by Mr. Acosta. Additionally, Plaintiff engaged in

 6   protected activity by requesting reasonable accommodations for her actual and/or perceived

 7   disabilities, including requesting a light duty assignment.

 8       50.        As alleged above, Defendants retaliated against Plaintiff, by among other acts,

 9   refusing to engage in any interactive process with PIaintiff in response to her articulated request

10   for reasonable accommodation and ultimately teriniiiating her employment.

         51.        As a proximate i-esult of Defendants' retaliation against Plaintiff, slie has suffered I

12 i and continues to suffer compensatory damages, including without liniitation, lost wages, loss of

13 I future earnings and earning capacity, loss of bonuses, emotional distress, mental anguish,

14   embarrassment, humiliation, loss of future advancement, and damage to her reputation in the

15   business community, in the amount of at least $25,000.00, according to proof at the time of trial,

16   which is in excess of the jurisdictional minimum for this lawsuit to qualify as an unlimited civil

17   action. Plaintiff claims such amounts as damages, together with prejudgmeiit interest accruing

18   from the date of the filing of this action pursuant to California Civil Code sections 3281 and/or

19   3288, and/or aiiy other provision of law providing for prejudgment interest.

20      52.         As a proximate result of Defendants' retaliation against Plaintiff, she has been

21   forced to hire attorneys to prosecute the claims alleged herein, and has incurred and is expected

22   to continue to incur attorneys' fees. Pursuant to California Government Code section 12965(b),

23   Plaintiff requests the award of attorneys' fees against Defendants.

24      53.         Defendants committed the acts alleged herein maliciously, fraudulently, and

25   oppressively, callously, in bad faitli, with the wrongful intent of injuring Plaintiff, and in

26   conscious disregard of Plaintift's rights and safety. As such, Plaintiff is entitled to an award of

27   punitive damages in an amount accorditig to proof.

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 1                                             PRAYER FOR RELIF,F

 2                 WHEREFORE, Plaintiff prays for and requests relief against Defendants as follows:

 3                 1.     For lost wages, benefits, penalties and other nionetary relief in an amount to be

 4     proven at trial;

 5                 2.     For general daniages resulting from suffered humiliation, embarrassment,

 6     disgrace, loss of reputation, mental anguish, and emotional and physical distress in an amount to

 7     be proven at trial;

 8                 3.     All general damages, according to proof at the time of trial.

 9                 4.     For punitive and exemplary daniages in an amount according to proof at the time

10     of trial;

11                 5.     For interest on the sum of the damages awarded, calculated from the date of

12     terniination to the date of judgment;

13             6.         For attorneys' fees and costs incurred, in an amount to be determined at trial; and

14             7.         For such other and further relief as the Court may deem just and proper.

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16     Dated: December 11, 2017                                                P.C.

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18                                               By:

19                                                 ttorne- f
20                                               DIVV
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                                                       COMPLAINT
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 1                                 DEMAND FOR JURY TRIAL

 2         Plaintiff Chalena Simpson hereby demands trial by jury.

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 4   Datcd: Dccember 11, 2017           DIVERSI LA IRZOUP, P.C.

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 7                                                        for Plaintiff
                                                          A SIMPSON
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                       COMPLAINT OF EMPLOYMENT DISCRIMINATION

                               BEFORE THE STATE OF CALIFORNIA

                     DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                       Under the California Fair Employment and Housing Act
                                     (Gov. Code, § 12900 et seq.)


     Complaint of                                              DFEH No. 742617-209681
     Chalena Simpson, Complainant.                             EEOC No.
     P. O. I3ox 9395
     Inglewood, California 90305




     Exxon Mobil Torrance Refinery, QALaboratoiy
     Respondent.
     3700 West 190th Street
     Torrance, California 90504




      THE PARTICULARS ARE:

      1. I, Chalena Simpson, allege that I was subjected to Discrimination, Retaliation by
      respondent, Exxon Mobil Torrance Refinery, QALaboratory due to one or more Fair
      Employment and Housing Act protected bases: Sex - Includes pregnancy and/or childbirth
      and/or breastfeeding and/or related medical conditions.

      2. I was Denied a work environment free of discrimination and/or retaliation, Denied
      reasonable accommodation, Terminated, Other. The most recent harm occun ed on or around
      June 04, 2015.

      3. My belief is based on the following: I altered my employer that I was pregnant and
      needed a reasonable accommodation because I was a laboratory techiiician and worked
      around hazardous chemicals. My employer sent in a team to evaluate my work space.
      Nothing further was said to me. A month later I was terminated. I believe I was terminated
      foi- asking foi- a reasonable accommodation. I was also written up twice in 2014 and more
      recently in February of 2015. Nothing was said or done regarding the write ups. It was not
      until I requested the reasonable accomrnodation that my employer used this against me as a
      way to retaliate against me and tenninate my employment.


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      VERIFICATION

      I, am the Complainant in the above complaint. I have read the above complaint and know
      its contents. I declat-e undei- penalty of pei jui-y under the laws of the State of California dhat
      the above is true and correct of my own kr►owledge, except as to those matters alleged on
      information and belief, which I also believe to be true.


      Signatui-e of Complainant or Complainant's Legal Representative:                  Date:
      Chalena Simpson                                                                   May 12th, 20 '


                                                                                         Inglewood, Ca.




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 ~'L~ :       : ~~~;•                                                                     _ - --__   —   c:pyEQ(~p1~FDMNNh t: RQOy~r~f~

                         DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                   DIRECTOR KEVIN KISH
                         2218 Kausen Drive, Suite 100 1 Elk Grove 1 CA 195758
                         800-864-1684 I TDD 800-700-2320
   ~                     www.dfeh.ca.gov I email: contact.center@dfeh.ca.gov
    ^~„..



            December 14, 2016

            Chalena Simpson
            P. O. Box 9395
            Inglewood California 90305

            RE:         Notice of Case Closure and Right to Sue
                        DFEH Number: 742617-209681
                        EEOC Number: Los Angeles - S
                        Simpson / Exxon Mobil Torrance Refinery, QA Laboratory

            Dear Chalena Simpson:

            The Department of Fair Employment and Housing (DFEH) has closed your case for the
            following reason: Investigated and Dismissed — Insufficient Evidence. Based upon its
            investigation, DFEH is unable to conclude that the information obtained establishes a
            violation of the statute. This does not certify that the respondent is in compliance with
            the statutes. No finding is made as to any other issues that might be construed as
            having been raised by this complaint.

            This is your Right to Sue notice. According to Government Code section 12966,
            subdivision (b), a civil action may be brought under the provisions of the Fair
            Employment and Housing Act against the person, employer, labor organization or
            employment agency named in the above-referenced complaint. This is also applicable
            to DFEH complaints that are filed under, and allege a violation of, Government Code
            section 12948, which incorporates Civil Code sections 51, 51.7, and 54. The civil action
            must be filed within one year from the date of this letter. However, if your civil complaint
            alleges a violation of Civil Code section 51, 51.7, or 54, you should consult an attorney
            about the applicable statutes of limitation.

            Your complaint is not dual filed with the United States Equal Employment Opportunity
            Commission (EEOC). To obtain a federal Right to Sue notice, you must visit the U.S.
            Equal Employment Opportunity Commission (EEOC) to file a complaint within 30 days
            of receipt of this letter or within 300 days of the alleged discriminatory act, whichever is
            earlier.




            You may file an appeai witfi DFEH whic h is a written request made to the District
            Administrator for reconsideration of the decision to close your case. Your appeal should
            include a 1) summary as to why you disagree with the reason; and/or, 2) any new




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      detailed information (e.g., documents, records, witness information) that supports your
      claim. If you appeal, the information you provide will be carefully considered.

      Although DFEH has concluded that the evidence and information did not support a
      finding that a violation occurred, the allegations and conduct at issue may be in violation
      of other laws. You should consult an attorney as soon as possible regarding any other
      options and/or recourse you may have regarding the underlying acts or conduct.

      Should you decide to bring a civil action on your own behalf in court in the State of
      California under the provisions of the California Fair Employment and Housing Act
      (FEHA) against the person, employer, labor organization or employment agency named
      in your complaint, below are resources for this. Please note that if a settlement
      agreement has been signed resolving the complaint, you might have waived the right to
      file a private lawsuit.

      Finding an Attorney
      To proceed in Superior Court, you should contact an attorney. If you do not already
      have an attorney, the organizations listed below may be able to assist you:

             •      The State Bar of California has a Lawyer Referral Services Program which
                    can be accessed through its Web site at www.calbar.ca.gov or by calling
                    (866) 442-2529 (within California) or (415) 538-2250 (outside California).

             •      Your county may have a lawyer referral service. Check the Yellow Pages of
                    your telephone book under "Attorneys."

      Filing in Small Claims Court
             • The Department of Consumer Affairs (DCA) has a publication titled "The
                    Small Claims Court: A Guide to Its Practical Use" online at of "The Small
                    Claims Court: A Guide to Its Practical Use" online at
                 http://www.dca.ca.gov/publications/small_claims. You may also order a free
                 copy of "The Small Claims Court: A Guide to Its Practical Use" online, by
                 calling the DCA Publication Hotline at (866) 320-8652, or by writing to them
                 at: DCA, Office of Publications, Design and Editing; 1625 North Market Blvd.,
                 Suite N-112; Sacramento; CA; 95834.




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             •      The State Bar of California has information on "Using the Small Claims Court"
                    under the "Public Services" section of its Web site located at
                    www.calbar.ca.gov.

      Sincerely,

       sSGVIa lM      LDl 'IeL

      Sylvia Lopez
      Consultant III
      559-244-4791
      sylvia.lopez@dfeh.ca.gov




      cc: Exxon Mobil Corporation
          22777 Springswoods Village Parkway
          Energy 2, 413, 471
          Spring, Texas 77389




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